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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Action No. 1:17-cr-00168-CMA-1

 UNITED STATES OF AMERICA

 v.

 KAREN LYNN MCCLAFLIN



                           DECLARATION OF RAUL CAMPOS


        I, Raul Campos, pursuant to 28 U.S.C. § 1746, and based upon my personal

 knowledge and information made known to me from official records reasonably relied

 upon by me in the course of my employment, hereby make the following declaration

 relating to the above entitled matter. All records attached to this declaration are true

 and accurate copies of Bureau records maintained in the ordinary course of business.

 I.     Introduction

        1.     I am currently employed by the Federal Bureau of Prisons (BOP) of the

 United States Department of Justice, as an Associate Warden, at the Federal Medical

 Center Carswell in Fort Worth, Texas (FMC Carswell). I have been employed by the

 BOP since August 1995.

        2.     The statements I make hereinafter are made on the basis of my review of

 the official files and records of the BOP, my own personal knowledge, or on the basis of

 information acquired by me through the performance of my official duties.




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 II     FMC Carswell Accreditation

        3.     FMC Carswell was reviewed by the American Correctional Association on

 May 14-16, 2019. The facility is fully accredited. 1

        4.     Effective December 21, 2017, Joint Commission accredited FMC Carswell

 for Ambulatory Care, Behavioral Health Care, and Nursing Care. 2

 III    The BOP’s Authority to Place inmates on Home Confinement

        5.     The BOP’s statutory authority to transfer prisoners to Home Confinement

 rests in 18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541. The BOP’s policy and

 procedures regarding Home Confinement are outlined in BOP Program Statement

 7320.01, Home Confinement and BOP Operations Memorandum, Home Confinement

 under the First Step Act 3. Both statutes set forth certain limitations with respect to the

 BOP’s transfer authority. See 18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541.

 However, pursuant to the Attorney General’s directives in light of the COVID-19

 pandemic, dated March 26, 2020, and April 3, 2020, infra, and given the surge in

 positive cases at select sites, the BOP began immediately reviewing all inmates who

 have COVID-19 risk factors, as described by the Centers for Disease Control and

 Prevention (CDC), to determine which inmates are suitable for Home Confinement.

 Since the release of the Attorney General’s original memorandum dated March 26,




 1
   See
 http://www.aca.org/ACA_Prod_IMIS/ACA_Member/Standards_and_Accreditation/SAC_AccFac
 Home.aspx?WebsiteKey=139f6b09-e150-4c56-9c66-284b92f21e51&hkey=f53cf206-2285-490e
 -98b7-66b5ecf4927a&CCO=2#CCO
 2
   See https://www.qualitycheck.org/quality-report/?keyword=Carswell&bsnid=242703
 3
   See www.bop.gov via the Resources tab.

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 2020, the BOP has been prioritizing transfers to Home Confinement of all suitable

 inmates as an appropriate response to the COVID-19 pandemic.

 IV     Attorney General’s Memorandum for the Director of the Bureau of Prisons,
        dated March 26, 2020

        6.     On March 26, 2020, the Attorney General issued a Memorandum for the

 Director of the Bureau of Prisons (the March 26, 2020 Memorandum) to ensure that, in

 light of the COVID-19 pandemic, BOP utilizes Home Confinement, where appropriate,

 to protect the health and safety of BOP personnel and people in BOP’s custody.

 Pursuant to the March 26, 2020 Memorandum, BOP has been prioritizing the use of its

 statutory authorities to grant Home Confinement for inmates in connection with the

 ongoing COVID-19 pandemic. It was noted in the March 26, 2020 Memorandum that

 many inmates will be safer in BOP facilities where the population is controlled and there

 is ready access to doctors and medical care.

        7.     In assessing whether Home Confinement should be granted pursuant to

 the March 26, 2020 Memorandum, the BOP considers the totality of circumstances for

 each individual inmate, the statutory requirements for Home Confinement, and the

 following non-exhaustive list of discretionary factors:

               a.     The age and vulnerability of the inmate contracting COVID-19, in

        accordance with the CDC guidelines;

               b.     The security level of the facility currently holding the inmate, with

        priority given to inmates residing in low and minimum security facilities.




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              c.     The inmate’s conduct in prison, with inmates who have engaged in

       violent or gang-related activity in prison or who have incurred a BOP violation

       within the last year not receiving priority treatment;

              d.     The inmate’s score under PATTERN 4 (the Prisoner Assessment

       Tool Targeting Estimated Risk and Need), with inmates who have anything

       above a minimum score not receiving priority treatment.

              e.     Whether the inmate has a demonstrated and verifiable re-entry plan

       that will prevent recidivism and maximize public safety, including verification that

       the conditions under which the inmate would be confined upon release would

       present a lower risk of contracting COVID-19 than the inmate would face in his or

       her BOP facility;

              f.     The inmate’s crime of conviction, and assessment of the danger

       posed by the inmate to the community. Some offenses, such as sex offenses,

       violent crimes, or terrorism, will render an inmate ineligible for Home

       Confinement. Other serious offenses weigh heavily against consideration for

       Home Confinement.

       8.     In addition to these factors, the March 26, 2020 Memorandum stated that

 before granting any inmate Home Confinement, the BOP Medical Director, or someone

 he designates, will, based on CDC guidance, make an assessment of the inmate’s risk

 factors for severe COVID-19 illness, risks of COVID-19 at the inmate’s prison facility, as

 well as the risk of COVID-19 at the location in which the inmate seeks Home

 Confinement. The BOP will not grant Home Confinement to inmates when doing so is



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 likely to increase their risk of contracting COVID-19. The BOP will grant Home

 Confinement only when it has been determined – based on the totality of circumstances

 for each individual inmate – that transfer to Home Confinement is likely not to increase

 the inmate’s risk of contracting COVID-19.

          9.     Moreover, the March 26, 2020 Memorandum noted that for the protection

 of the public, any inmate to whom BOP grants Home Confinement is to be placed in a

 mandatory 14-day quarantine before that inmate is discharged from a BOP facility to

 Home Confinement. Inmates transferred to Home Confinement under this prioritized

 process are also subject to location monitoring devices and, where a court order is

 entered, are subject to supervised release.

 V      The CARES Act and the Attorney General’s Memorandum for the Director
 of the Bureau of Prisons, dated April 3, 2020

          10.    The Coronavirus Aid, Relief, and Economic Security (CARES) Act, Public

 Law No. 116-236 (enacted March 27, 2020), authorizes the Attorney General to expand

 the cohort of inmates who can be considered for Home Confinement upon his finding of

 emergency conditions which are materially affecting the function of the BOP. On April

 3, 2020, the Attorney General made that finding, and in a Memorandum for the Director

 for the Bureau of Prisons (April 3, 2020 Memorandum), authorized the Director to

 immediately maximize appropriate transfers to Home Confinement of all appropriate

 inmates held at BOP facilities where the Director determines that COVID-19 has

 materially affected operations.




 4
     For more information on PATTERN, please visit www.bop.gov via Inmates/First Step Act tab.

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        11.    The April 3, 2020 Memorandum specifically stated that the BOP must

 move with dispatch in using Home Confinement, where appropriate, to move vulnerable

 inmates out of FCI Oakdale, FCI Danbury, and FCI Elkton, and to give priority to those

 institutions, and others similarly affected, as the BOP continues to process the

 remaining inmates who are eligible for Home Confinement under pre-CARES Act

 standards.

        12.    The April 3, 2020 Memorandum directed that the BOP give priority in

 implementing the new standards to the most vulnerable inmates at the most affected

 facilities and was explicit that the BOP should begin implementing this directive

 immediately at the identified facilities and any other facilities at risk of similar problems.

 The April 3, 2020 Memorandum stated that the review should include a much broader

 pool of at-risk inmates – not only those who were eligible for transfer prior to the

 Attorney General exercising his authority under the CARES Act. The assessment of all

 inmates remains guided by the factors in the March 26, 2020 Memorandum.

        13.    For inmates deemed suitable candidates for Home Confinement, the April

 3, 2020 Memorandum directed the BOP to immediately process these inmates for

 transfer and then immediately transfer them following a 14-day quarantine at an

 appropriate BOP facility The April 3, 2020 Memorandum further authorized BOP to, in

 appropriate cases, require that the inmate being transferred undergo his or her 14 day

 quarantine in the residence to which the inmate is being transferred rather than in the

 BOP facility from which the inmate is being transferred.

        14.    The April 3, 2020 Memorandum also recognized that the BOP has limited

 resources to monitor inmates on Home Confinement and that the U.S. Probation Office

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 is unable to monitor large number of inmates in the community, and authorized the BOP

 to transfer inmates to Home Confinement even if electronic monitoring is not available,

 so long as it determines in every instance that doing so is appropriate and consistent

 with the obligation to protect public safety.

        15.    Lastly, the April 3, 2020 Memorandum stated that it is essential for the

 BOP to continue making determinations for Home Confinement in a careful and

 individualized way that remains faithful to the duty of protecting the public and law

 enforcement officers.

 VI     The BOP’s Implementation of the March 26, 2020 and the April 3, 2020
        Memoranda

        16.    The BOP is devoting all available resources to executing the Attorney

 General’s directives, with such resources tailored and prioritized according to the needs

 of individual institutions across the country. The BOP is assessing the inmate

 population to determine which inmates would be appropriate for transfer under this

 priority program. The BOP is then processing those inmates for transfer as

 expeditiously as possible.

        17.    The BOP is also frequently updating its public website to provide

 information and responses to frequently asked questions regarding its response to the

 COVID-19 pandemic, including providing information regarding its implementation of the

 Attorney General’s directives.

        18.    The BOP has increased Home Confinement by over 148% since March

 2020, and is continuing to aggressively screen inmates for Home Confinement. Since

 the March 26, 2020 Memorandum instructing the BOP to prioritize Home Confinement


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 as an appropriate response to the COVID-19 pandemic, the BOP has placed an

 additional 4,817 inmates on Home Confinement. 5

         19.    Inmates do not need to apply to be considered for Home Confinement.

 BOP Case Management staff are urgently reviewing all inmates to determine which

 ones meet the criteria established by the Attorney General. While all inmates are being

 reviewed for suitability for Home Confinement, any inmate who believes he or she is

 eligible may request to be referred to Home Confinement and provide a release plan or

 his or her Case Manager.

         20.    It should be noted that for public safety reasons, in accordance with March

 26, 2020 Memorandum, and to ensure the BOP is deploying its limited resources in the

 most effective manner, the BOP is currently assessing a number of factors to ensure

 that an inmate is suitable for Home Confinement including, but no limited to, reviewing

 the inmate’s institutional discipline history for the last twelve months; ensuring that the

 inmate has a verifiable release plan; verifying that the inmate’s primary offense is not

 violent, a sex offense, or terrorism related; and confirming the inmate does not have a

 current detainer.

         21.    Additionally, the BOP has generally prioritized Home Confinement

 consideration for those inmates who have served a certain portion of their sentences, or

 who have only a relatively short amount of time remaining in those sentences. While

 these priority factors are subject to deviation in BOP’s discretion in certain

 circumstances and are subject to revision as the situation progresses, BOP is, at this

 time, prioritizing consideration those inmates who either (1) have served 50% or more of


 5
     See www.bop.gov.
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 their sentences, or (2) have 18 months or less remaining in their sentences and have

 served 25% or more of their sentences. As BOP processes the inmates eligible for

 Home Confinement under these criteria and learns more about the COVID-19 pandemic

 and its effect on BOP facilities, it is assessing whether and how to otherwise prioritize

 consideration.

        22.    As of May 13, 2020, before the BOP approves an inmate for Home

 Confinement who does not meet the criteria outlined by the Attorney General, the BOP

 provides notice of its consideration to the United States Attorney’s Office that

 prosecuted the inmate so that the United States Attorney’s Office is given an

 opportunity to provide additional information, including information from victims, which

 might be relevant to the analysis. The United States Attorney’s Office then has three

 business days to provide any additional information to the BOP. The BOP retains full

 discretion to make the decision with or without this input based on a flexible

 consideration of the criteria and the totality of the circumstances, including the risks

 associated with the COVID-19 virus. The notification requirement will not be applied to

 inmates approved for Home Confinement prior to this requirement’s adoption on              May

 13, 2020.

        23.    If the incarcerated individual does not qualify for Home Confinement under

 BOP criteria, an inmate may be reviewed for placement in a Residential Reentry Center

 (RRC) and possibly Home Confinement at a later stage in accordance with applicable

 laws and BOP policies.




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 VII    Measures to Protect Inmate and Staff Safety

        24.       In response to the pandemic, BOP has taken significant measures to

 protect the health of inmates in its charge. These steps include, but are not limited to,

 the following:

                  a.    Beginning May 18, 2020, BOP implemented Phase Seven of the

        Nationwide Action Plan, which includes an extension of previously disseminated

        guidance and currently governs operations. The current modified operations

        plan requires that inmates in every BOP institution be secured in their assigned

        cells/quarters for a period of at least 14 days, in order to stop any spread of the

        disease. Only limited group gathering is permitted with attention to social

        distancing to the extent possible, to facilitate commissary, laundry, showers,

        telephone, and computer access.

                  b.    All staff and inmates have been and will continue to be issued an

        appropriate face covering and strongly encouraged to wear the face covering

        when in public areas when social distancing cannot be achieved.

                  c.    Every newly admitted inmate is screened for COVID-19 exposure

        risk factors and symptoms. Asymptomatic inmates with risk of exposure are

        placed in quarantine. Symptomatic inmates are placed in isolation until they test

        negative for COVID-19 or are cleared by medical staff as meeting CDC criteria

        for release from isolation. In addition, in areas with sustained community

        transmission and at medical centers, all staff are screened for symptoms upon

        entering an institution. Staff registering a temperature of 100.4 degrees

        Fahrenheit or higher are barred from the facility on that basis alone.

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                  d.    Contractor access to BOP facilities is restricted to only those

        performing essential services (e.g. medical or mental health care, religious, etc.)

        or those who perform necessary maintenance on essential systems. All

        volunteer visits are suspended absent authorization by the Deputy Director of the

        BOP. Any contractor or volunteer who requires access will be screened for

        symptoms and risk factors.

                  e.    Social and legal visits were stopped as of March 13, 2020, and

        remain suspended until at least June 30, 2020, to limit the number of people

        entering the facility and interacting with inmates. In order to ensure that familial

        relationships are maintained throughout this disruption, BOP has increased

        detainees’ telephone allowance to 500 minutes per month. Tours of facilities are

        also suspended. Legal visits may be permitted on a case-by-case basis after

        the attorney has been screened for infection in accordance with the screening

        protocols in place for prison staff, contractors, and visitors.

                  f.    Further details and updates of BOP’s modified operations are

        available to the public on the BOP website at a regularly updated resource

        page. 6

 VIII   Specifics about the Inmate and Institution

        25.       FMC Carswell is located in Fort Worth, Texas. FMC Carswell is fully

 accredited by the Joint Commission (JC) for Ambulatory Care, Behavioral Health Care,

 and as a Nursing Care Center. It is located in the northeast corner of the Naval Air

 Station, Joint Reserve Base, Fort Worth. Being the only Federal Medical Center for



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 female offenders, the FMC Carswell provides specialized medical and mental health

 services, as well as appropriate correctional programs. FMC Carswell has reviewed all

 of its Care Level 4 7 inmates for eligibility for priority consideration for home

 confinement under the CARES Act and the Barr memoranda.

          26.    FMC Carswell has been employing enhanced sanitation procedures and

 high tough surfaces are frequently sanitized. Additionally, inmate movement remains

 limited.

          27.    Inmate Karen Lynn McClaflin, Reg. No. 44166-013, is currently designated

 to FMC Carswell. She arrived at this institution on June 11, 2019. When she arrived

 to the institution she was assigned a medical Care Level 4 designation and was housed

 in the nursing care unit. On or around October 9, 2019, she was discharged from the

 nursing care unit and her medical care level was changed to Care Level 2.

          28.    As of today’s date, FMC Carswell has had zero staff test positive for

 COVID-19. Two inmates at FMC Carswell have tested positive for COVID-19

 previously but there are currently no inmates with active, open cases of COVID-19 at

 FMC Carswell. Regarding the two inmates that tested positive previously, the first

 positive test was an inmate who was a recent admission to FMC Carswell. She was

 housed in quarantine and isolation the entire time she was at FMC Carswell. The

 second COVID-19 positive case was another recent admission to FMC Carswell. The

 second positive case was quarantined with the first positive case. She was housed in

 isolation because of her positive test result, and thus, was housed in quarantine and


 6
     www.bop.gov/coronavirus/index.jsp
 7
     For more information about care level designations see

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 isolation the entire time she was at FMC Carswell until she recovered from COVID-19

 and received two negative tests. As of today’s date, there are currently no inmates or

 staff with active COVID-19 at FMC Carswell.

 IX     Compassionate Release / Reduction in Sentence Procedures

        29.    The BOP lacks the authority to provide inmates with a reduction in

 sentence through compassionate or “early release.” Rather, only an Article III judge –

 specifically, the inmate’s sentencing judge – may authorize such a reduction of an

 inmate’s federal sentence. However, on an inmate’s request, the Director of the BOP

 may make a motion to an inmate’s sentencing court to reduce a term of imprisonment

 under 18 U.S.C. § 4205(g) and 18 U.S.C. § 3582(c)(1)(A). The BOP uses these

 statutory authorities in “extraordinary or compelling circumstances” which could not

 reasonably have been foreseen by the court at the time of sentencing. This process is

 outlined in BOP Program Statement 5050.50, Compassionate Release/Reduction in

 Sentence Procedures for Implementation of 18 U.S.C. §§ 3582 and 4205(g) 8

        30.    Inmate McClaflin filed a request for a Reduction in Sentence with the FMC

 Carswell Warden on December 4, 2019. She requested a reduction in sentence due to

 her debilitated medical condition. On December 13, 2019, the FMC Carswell Warden

 denied her request for a Reduction in Sentence, noting that although she required a

 wheelchair for mobility, she was able to complete all activities of daily living and she did

 not meet the criteria for a Reduction in Sentence based on medical circumstances –

 Debilitated Medical Condition, as outlined in Program Statement 5050.50.


 www.bop.gov/foia/docs/medicalclassificationguidelines.pdf
 8
   See www.bop.gov via the Resources tab.

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